AO 91(Rev.l1/11) CriminalComplaint
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                                U NITED STATES D ISTRICT C OURT                                   A            C15
                                                        forthe                                    LtA . D      ,
                                             W estem DistrictofVirginia

               United StatesofAmerica
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                  W ARREN EVA NS,Jr.
                                                                 casexo 6 ..!q N x - 3
                                                                          .


               (a/k/a'Charlie'sbrother')




                                           C RIM IN A L C O M PLA IN T
         1,the complainantin thiscase,statethatthefollowing istrueto thebestofmy knowledge and belief.
Onoraboutthedatets)of UnknowntoOctober17,2014 inthecountyof                               Frederick            inthe
   Western     Districtof   Virginia     ,thedefendantts)violated:
           CodeSection                                             OyenseDescrètion
Ti
 tle21,United StatesCode,                Conspiracyto Distribute Heroin,a Schedule IControlled Substance
Section846and Sections841(a)(1)
and841(b)(1)(C)




         Thiscriminalcomplaintisbased on thesefacts:
See attachedAffidavit




         # continuedontheauachedsheet.
                                                                                      k
                                                                                 Complainant'
                                                                                            ssignature

                                                                                SA Thomas F.Hickey
                                                                                 Printed nameand title

Sworn to before meand signed in my presence.

D ate:         04/14/2015
                                                                                   Judg ' tgnature

city and state'
              .                Harrisonburg,virginia               Honor ble JamesG .W elsh,US Magi
                                                                                                  strate Judge
                                                                                 Printednameand title
